                           UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                             NORTHERN DIVISION - BAY CITY

IN RE:

         CYNTHIA M. JONES,                                    Case No. 11-21536-dob
                                                              Chapter 7 Proceeding
            Debtor.                                           Hon. Daniel S. Opperman
_____________________________________/
CYNTHIA M. JONES,

         Plaintiff,

v.                                                            Adversary Proceeding
                                                              Case No. 11-2168-dob
CITIZENS BANK,

      Defendant.
_____________________________________/

                                              Opinion

         The Court conducted a Trial in this matter on March 19, 2012, and, after the close of proofs

and oral arguments, took this matter under advisement. For the reasons stated in this Opinion, the

Court finds that the 2006 Chrysler PT Cruiser has a value of less than $5,850 and that Defendant,

Citizens Bank, has established a defense to Plaintiff’s preference action under 11 U.S.C. § 547(c)(9).

                                                Facts

         The Plaintiff, Cynthia Jones, signed a guarantee for commercial obligations connected to her

ex-husband and owed to Defendant, Citizens Bank. After a default of this loan, Citizens Bank

obtained a judgment against Plaintiff in the amount of $135,999.97. On February 8, 2011, a Court

Officer seized Plaintiff’s 2006 Chrysler PT Cruiser. After holding the 2006 Chrysler PT Cruiser for

the requisite time, and after advertisement of the sale of the 2006 Chrysler PT Cruiser, Richard

Robbins, the Court Officer assigned to liquidate the 2006 Chrysler PT Cruiser, sold it at public

auction. As part of this process, Mr. Robbins received three bids of $2,800, $3,200, and $4,000.


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Mr. Robbins accepted the highest bid from John Mall, a friend of the sister of Mr. Robbins.

        On April 26, 2009, the Plaintiff filed her Chapter 7 bankruptcy petition with this Court and

commenced this adversary proceeding on July 15, 2011, seeking avoidance of the sale of the 2006

Chrysler PT Cruiser as a preference under Section 547. In her Schedules, Ms. Jones stated that the

value of the 2006 Chrysler PT Cruiser was $6,840. At Trial, Ms. Jones testified that she purchased

the vehicle from her ex-husband and that he purposely looked for a vehicle that was in excellent

condition. When she purchased the vehicle, she paid $8,000 for it and she kept excellent care of the

vehicle until it was seized in February, 2011. Although Ms. Jones did not claim expertise in valuing

vehicles, she testified that she did consult various sources such as the Kelley Blue Book and various

NADA sources. On cross-examination, Ms. Jones admitted that she understood that Chrysler PT

Cruisers depreciate at the rate of approximately $1,000 per year and that her 2006 Chrysler PT

Cruiser could have depreciated anywhere from $2,000 - $3,000 since she purchased it.

        The other witness who testified was Mr. Robbins, who outlined the procedure he follows to

seize vehicles, advertise the vehicles, and then sell them. Mr. Robbins admitted that the procedure

he follows is not the optimal procedure to obtain the highest value for a vehicle, but is consistent

with Michigan law. Mr. Robbins also testified that he always tries to get at least wholesale value

for a vehicle and that in this case, he thought that the value received for the vehicle was at least

wholesale value. As indicated earlier, Mr. Robbins admitted that the vehicle was purchased by a

friend of his sister.

                                            Jurisdiction

        This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 157, 28 U.S.C. § 1334,

and E.D. Mich. LR 83.50. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(F)

(proceedings to determine, avoid, or recover preferences).


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                                             Analysis

       11 U.S.C. § 547(b) and (c) govern this case. In order to establish a prima facia case, a

plaintiff must show the following elements as mandated by 11 U.S.C. § 547(b):

       the trustee may avoid any transfer of an interest of the debtor in property–

               (1) to or for the benefit of a creditor;
               (2) for or on account of an antecedent debt owed by the debtor before
               such transfer was made;
               (3) made while the debtor was insolvent;
               (4) made–
                        (A) on or within 90 days before the date of the filing of the
                        petition; or
                        (B) between ninety days and one year before the date of the
                        filing of the petition, if such creditor at the time of such
                        transfer was an insider; and
               (5) that enables such creditor to receive more than such creditor would
               receive if–
                        (A) the case were a case under chapter 7 of this title;
                        (B) the transfer had not been made; and
                        (C) such creditor received payment of such debt to the extent
                        provided by the provisions of this title.

       11 U.S.C. § 547(b) (emphasis added).

       In response, the Defendant in this case claims a defense pursuant to 11 U.S.C. § 547(c)(9),

which states in pertinent part:

       (c) The trustee may not avoid under this section a transfer –

               (9) if, in a case filed by a debtor whose debts are not primarily
               consumer debts, the aggregate value of all property that constitutes
               or is affected by such a transfer is less than $5,850.

       11 U.S.C. § 547(g) places the burden of proof on the Plaintiff for the Section 547(b) elements

and on the Defendant as to the Section 547(c) elements.

       Although the parties did argue whether Plaintiff proved all of the elements of Section 547(b)

at both the hearing on Defendant’s Motion for Summary Judgment and at Trial in this matter, the



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Court sets aside that issue to first determine if the 2006 Chrysler PT Cruiser had a value of more

than $5,850. In this case, the Court concludes that the 2006 Chrysler PT Cruiser did not have a

value in excess of $5,850.

       First, the Court notes that the 2006 Chrysler PT Cruiser was indeed sold at auction sale for

$4,000. While this sale is questionable in that it was at an auction sale, which normally fetches

distressed prices, the $4,000 sale price does represent a price and, more importantly, represents a

price that was as a result of an active bidding process which raised the initial bid from $2,800 to

$3,200, and ultimately to $4,000. That being said, the Court does question both the method of the

sale, as well as the undisputed fact that the vehicle was sold to a friend of the sister of Mr. Robbins,

which suggests that the bidding process could have been chilled.

       With that observation, however, this Court would need to then determine that at least an extra

$1,850 would have been bid for this 2006 Chrysler PT Cruiser. With the facts of this case, that

conclusion is problematic. First, while Plaintiff estimated that her 2006 Chrysler PT Cruiser had

a value of $6,840 because of its excellent condition, there is nothing specifically in the record that

would support her conclusion. Although owners are allowed to testify as to the value of their

property, their testimony must necessarily be viewed with some skepticism. Second, Plaintiff

testified that she believed that her 2006 Chrysler PT Cruiser depreciated at the rate of at least $1,000

per year. Taking this depreciation rate into account, her 2006 Chrysler PT Cruiser would have a

value of no more than $6,000 and at least $5,000 when it was seized by Citizens Bank. Assuming

the higher value of $6,000, the Court is unable to conclude that the 2006 Chrysler PT Cruiser, after

even the slightest adjustment for the cost of sale, condition, or market conditions, had a value in

excess of $5,850.

       The Court is mindful that the Defendant has the burden of proof as to the Section 547 (c)(9)


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defense here. In analyzing the question of value, the Court does not use the sale price at the auction

sale as the prima facia value, but is instead adjusting for the conditions of the sale, the possible

chilling effect that Mr. Robbins’ sister had in regard to the sale, and the very nature of Court ordered

sales, and concludes that the 2006 Chrysler PT Cruiser had a value of more than $4,000, but less

than $5,850.

       For these reasons, the Court concludes that Defendant, Citizens Bank, has established the

necessary defense pursuant to 11 U.S.C. § 547(c)(9). Judgment shall enter in favor of Defendant,

Citizens Bank, and the relief requested of Plaintiff is denied.

       Counsel for Defendant is directed to prepare an order consistent with this Opinion and

present this order consistent with the rules of this Court.



Not for publication
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Signed on August 10, 2012
                                                           /s/ Daniel S. Opperman
                                                         Daniel S. Opperman
                                                         United States Bankruptcy Judge




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